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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA

                                 Case No. 6:23-CV-01329-WWB-DCI

KIVA HAIR,

      Plaintiff,
v.

EXPERIAN INFORMATION SOLUTIONS
INC, ZION DEBT HOLDINGS LLC AND
TRANS UNION LLC.,

     Defendants.
_______________________________________/

      NOTICE OF SETTLEMENT AS TO DEFENDANT EXPERIAN
             INFORMATION SOLUTIONS INC, ONLY

      Plaintiff Kiva Hair submits this Notice of Settlement and states that Plaintiff

and Defendant Experian Solutions Inc. have reached a settlement with regard to this

case and are presently drafting, finalizing, and executing the formal settlement

documents. Upon full execution of the same, the parties will file the appropriate

dismissal documents with the Court.

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                                                                                                              PAGE | 1 of 2
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      Dated: August 3, 2023
                                                            Respectfully Submitted,

                                                             /s/ Thomas Patti                                          .
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                                                            COUNSEL FOR PLAINTIFF


                                  CERTIFICATE OF SERVICE

      The undersigned certifies that on August 3, 2023, the forgoing was

electronically via the Court’s CM/ECF system on all counsel of record.

                                                             /s/ Jennifer G. Simil
                                                            JENNIFER G. SIMIL, ESQ.
                                                            Florida Bar No.: 1018195




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